                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                               3:24-cv-00860

 JAMES BUNYAN HINSON,

 Plaintiff,

 vs.                                                         ANSWER

 QUIKTRIP STORE #1028, QUIKTRIP                       (JURY DEMANDED)
 CORPORATION,

 Defendant.




      Comes now, Defendant QUIKTRIP (QT), and answers the allegations in
Plaintiff’s Complaint by paragraph number as follows:

   1. Admitted.

   2. Admitted.

   3. QT admits Plaintiff was a customer at its store on September 25, 2021 at
      approximately noon. QT denies the remainder of the allegations in paragraph
      3 for lack of information.

   4. QT denies paragraph 4 and all subparts.

   5. QT denies paragraph 5.

                               Affirmative Defenses

                             Contributory negligence

      Plaintiff’s claim is barred under the doctrine of contributory negligence. The
substance in the parking lot at issue was plainly visible. Plaintiff failed to exercise
reasonable caution for his own safety and is therefore not entitled to recover from QT.




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                            Open and Obvious Condition

      Plaintiff’s claim is barred under the open and obvious doctrine. The substance
in the parking was an open and obvious condition. QT had no legal duty to warn
Plaintiff of the condition.

                               PRAYER FOR RELIEF

        QT prays for the following relief:

   1.      A trial by jury;
   2.      That Plaintiff take nothing from Defendant;
   3.      For taxable court costs as allowed by law;
   4.      Any other relief to which the Court may determine QT is entitled.

   This the 16th day of October, 2024.

                                              /s/Brett Dressler
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                            CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing ANSWER has this day been served
as noted below, using the electronic filing system, which will send a Notice of Filing
to all parties and counsel of record:

                                 J. Dwight Hudson
                                 Hudson & Graham
                                   PO Box 70218
                              Myrtle Beach, SC 29572
                     Via Email: hudsonlaw@hudsonlawoffice.com
                                Attorney for Plaintiff

        This the 16th day of October, 2024.

                                              /s/Brett Dressler




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